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AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
vi            Sheet I



                                          UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF WEST VIRGINIA

              UNITED STATES OF AMERICA                                          JUDGMENT IN A CRiMINAL CASE
                                                                         )      (For Revocation of Probation or Supervised Release)
                   GERALD DAVID GIBBS,                                   )      Case Number: 3:1OCR7-001
                              a/k/a “G”
                                                                         )      USM Number: 06624-087

                                                                         )       Nicholas J. Compton
                                                                                Defendant’s Attorney
THE DEFENDANT:
     admitted guilt to violation of mandatory and standard conditions                              of the term of supervision.
     was found in violation of                                                                     after denial of guilt.


The defendant is adjudicated guilty of these violations:




Violation Number                   Nature of Violation                                                                  Violation Ended
          1                         Associating with a convicted felon without permission                           08/10/2013

          2                         Failing to notify the probation officer within 72 hours of police               08/10/2013
                                      contact

          3                         Positive drug test for cocaine                                                  08/05/2013

          4                         Failing to truthfully answer the probation officer’s questions                  08/05/2013

“See additional violation(s) on page 2

      The defendant is sentenced as provided in pages 2 through 7            of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
Li The defendant has not violated                                                             and is discharged as to such violation(s) condition.

         It is ordered that the defendant mustnotify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are hilly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                         June 10, 2014
                                                                         Date of Imposition of Judgment




                                                                         Signatu of Judge


                                                                         Honorable Gina M. Groh, United States District Judge
                                                                         Name of Judge                                  Title of Judge



                                                                                                          /
                                                                         Date
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                                                                                                 Judgment Page: 2 of 7
     DEFENDANT: GERALD DAVID GIBBS,
     CASE NUMBER: 3:1OCR7-001

                                              ADDITIONAL VIOLATIONS

    Violation Number               Nature of Violation                                           Violation Concluded
           5                        Frequenting a place where illegal substances are located       03/07/2014
           6                        Charge for No Operator’s                                       04/27/2014
           7    Changing address without notifying the probation officer 10 days in            L05/30/2014
                                       advance

                                        L             A
-                                  —.“:
                                                                                          1”
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AO 245D           (Rev. 12/07) Judgment in a Criminal Case for Revocations

vi                Sheet 2 - Imprisonment




 DEFENDANT:                  GERALD DAVID GIBBS,                                                                                   Judgment Page: 3 of 7

 CASE NUMBER:                3:1OCR7-O01
                                                                          IMPRISONMENT
           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:      Twenty-Four (24) months.



           The court makes the following recommendations to the Bureau of Prisons:

           LI   That the defendant be incarcerated at an FCI or a facility as close to                                                possible;
                LI    and at a facility where the defendant can participate in substance abuse treatment, as determined by the Bureau of Prisons;
                      LI including the 500-Hour Residential Drug Abuse Treatment Program.

           LI That the defendant be incarcerated at                                                         or a facility as close to his/her home in
                                                                         possible;
                LI     and at a facility where the defendant can participate in substance abuse treatment, as determined by the Bureau of Prisons;
                       LI including the 500-Hour Residential Drug Abuse Treatment Program.
                That the defendant be incarcerated at the Camp at Cumberland, Maryland.

                       That the defendant be given credit for time served since June 5, 2014.


           LI That the defendant be allowed to participate in any educational or vocational opportunities while incarcerated, as determined by
                the Bureau of Prisons.
     LI    Pursuant to 42 U.S.C. § 14135A, the defendant shall submit to DNA collection while incarcerated in the Bureau of Prisons,
           or at the direction of the Probation Officer.

           The defendant is remanded to the custody of the United States Marshal.

     LI    The defendant shall surrender to the United States Marshal for this district:

           LI   at                                        D       a.m.       D p.m.     on

           LI   as notified by the United States Marshal.

     LI    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           LI   before 12:00 pm (noon)        on

           LI   as notified by the United States Marshal.

           LI as notified by the Probation or Pretrial Services Office.
           LI on                                as directed by the United States Marshals Service.


                                                                                RETURN
 I have executed this judgment as follows:


           Defendant delivered on                                                                    to

     at                                                       ,   with a certified copy of this judgment.


                                                                                                                  UNITED STATES MARSHAL

                                                                                      By
                                                                                                             DEPUTY UNITED STATES MARSHAL
     Case 3:10-cr-00007-GMG-RWT Document 265 Filed 06/18/14 Page 4 of 7 PageID #: 1102

AO 245D         (Rev. 12/07) Judgment in a Criminal Case for Revocations
vi              Sheet 3   --   Supervised Release

                                                                                                                   Judgment Page: 4 of 7
DEFENDANT:                     GERALD DAVID GIBBS,
CASE NUMBER:                   3:1OCR7-0O1
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:          No supervision to follow.


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the probation officer.
Q      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
Li     The above drug testing condition is suspended, based on the court’s determination that this condition has been satisfied during
       a previous term of supervision. (Check, if applicable.)
Li     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon, as defined in 18 U.S.C.
       § 921. (Check, if applicable.)
Q      The defendant shall cooperate in the collection of DNA as directed by the probation officer unless previously collected by the
       Bureau of Prisons. (Check, if applicable.)
1J     The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et.
       seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
       resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
LI     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If thisjudgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standardconditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;

  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant s compliance with such notification requirement.
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AO 245D         (Rev. 12/07) Judgment in a Criminal Case for Revocations
vi              Sheet 4—Special Conditions

     DEFENDANT: GERALD DAVID GIBBS,                                                                                  Judgment Page: 5 of 7
     CASE NUMBER: 3:1OCR7-OO1

                                              SPECIAL CONDITIONS OF SUPERVISION




          Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
     term of supervision, and/or (3) modif’ the conditions of supervision.
          These standard and/or special conditions have been read to me. I fully understand the conditions and have been provided a copy of
     them.



          Defendant’s Signature                                                        Date



          Signature of U.S. Probation Officer/Designated Witness                       Date
      Case 3:10-cr-00007-GMG-RWT Document 265 Filed 06/18/14 Page 6 of 7 PageID #: 1104

AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
vi            Sheet 5 Criminal Monetary Penalties
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DEFENDANT: GERALD DAVID GIBBS,                                                                                     Judgment Page: 6 of 7
CASE NUMBER: 3:IOCR7-OO1
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                            Assessment                                       Fine                          Restitution
TOTALS             $                                                     $                             $


 LI   The determination of restitution is deferred until                 An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 LI   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

      The victim’s recovery is limited to the amount of their loss and the defendant’s liability for restitution ceases if and when the victim
      receives full restitution.

          Name of Payee                                                         Total Loss*       Restitution Ordered       Priority or Percentage




TOTALS

 LI    See Statement of Reasons for Victim Information

LI     Restitution amount ordered pursuant to plea agreement $

LI    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 LI    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       LI the interest requirement is waived for the LI fine LI restitution.
       LI the interest requirement for the LI fine LI restitution is modified as follows:
 *
  Findings for the total amount of losses are required under Chapters 109A, 110, 11OA, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
vi           Sheet 6— Schedule of Payments


 DEFENDANT: GERALD DAVID GIBBS,                                                                                         Judgment Page: 7 of 7
 CASE NUMBER: 3:1OCR7-0O1
                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

 A    El   Lump sum payment of $                                   due immediately, balance due

           [1 not laterthan                                             ,or
           [1 in accordance with El           C     El    D,     [] E, El F, or El G below); or
 B    El   Payment to begin immediately (may be combined with                 El C,    El D,      El F, or   El G below); or
 C    El   Payment in                         (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                          (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

 D    El   Payment in                       (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    El   Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    El   Special instructions regarding the payment of criminal monetary penalties:
           Financial obligations ordered are to be paid while the defendant is incarcerated, and if payment is not completed during
           incarceration, it is to be completed by the end of the term of supervised release; or


 G    El   Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall immediately begin making restitution and/or fine payments of                     per month, due on the
                                                                                                       $________________




           of each month. These payments shall be made during incarceration, and if necessary, during supervised release.

 Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
 criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through
 the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to Clerk, U. S. District Court, Northern District of West
 Virginia, P.O. Box 1518, Elkins, WV 26241.
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 El   Joint and Several

      Restitution is to be paid joint and several with other related cases convicted in Docket Number(s):




 El   The defendant shall pay the cost of prosecution.

 El   The defendant shall pay the following court cost(s):

 El   The defendant shall forfeit the defendant’s interest in the following property to the United States:

      Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
      fine interest. (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
